111$1@¥(1`<:§9`/§_/08 .e 1 Of 1%?32§*§’? 17

 

 

_\/Case 3:03-<:\/-0115‘ Doc 1

@ NO {_l, S {}!q'rvzv(TCp,‘!-:
r" k "R"RZ{ ‘" c
` IN THE UNITED sTATEs DISTRIc éllfili{gr M '_ 50" TEM
FoR THE NoRTHERN DIsTRIcT oF TE);As 11 1.51111111.».-_1 _

 

DALLAS DIVISION

 

 

 

R.B. BARTON, SABRINA CHAMBERS,
]OANNA M. CHAMBERS, TRACY
GERMAIT a/k/a NAOLANI SOLOMON,
MICHAEL COKEFIELD and ]AMES M.
HAWKINS

 

 

 

vs.
]EFFREY NELSON; TIMOTHY STECKER;

ALBERT SCHOELEN; and THE CITY OF

§
§
§
§
§
§
Plaintiffs, §
§
§
§
§
DALLAs, §

§

§

Defendant.

PLAINTIFFS' ORIGINAL COMPLAINT

 

TO THE HONORABLE UNITED STATES DISTRICT ]UDGE:

Plaintiffs R.B. Barton, Sabrina Chambers, ]oanna M. Chambers, Tracy Gerrnait
a / k / a Naolani Solomon, Michael Col<efield and ]arnes M. Hawl<ins, hereinafter referred to
as ”Plaintiffs” file this, their Original Complaint, complaining of ]effrey Nelson, Tirnothy
Stecker, Albert Schoelen and The City of Dallas, Texas(”Defendants"), and for Plaintiffs'

causes of action would respectfully show the Court the following

PARTIES
1. Plaintiffs are all residents of Dallas, Te)<as.
2. Defendant ]effrey Nelson is a resident of Dallas, Texas and is or Was a Dallas

City Police Officer Worl<ing for the Dallas Police Departrnent and Was at all times material,

Plaintiffs’ Original Complaint -- Pa,qe 1

 

 

ease 3:03-<:\/-0115‘ Documem 1 Filed 07/08/08 .e 2 of 10 PagelD 2

acting in that capacity and under the color of laW. He may be served With process by
serving him at 2014 Main Street, Dallas, Dallas County, Texas or Wherever he may be
found.

3. Defendant Tirnothy Stecker is a resident of Dallas, Texas and is or Was a
Dallas City Police Officer Working for the Dallas Police Department and Was at all times
material, acting in that capacity and under the color of laW. He may be served With process
by serving him at 2014 Main Street, Dallas, Dallas County, TeXas or Wherever he may be
found.

4. Defendant Albert Schoelen is a resident of Dallas, Texas and is or Was a Dallas
City Police Officer Working for the Dallas Police Department and Was at all times material,
acting in that capacity and under the color of laW. He may be served With process by
serving him at 2014 Main Street, Dallas, Dallas County, Te)<as or Wherever he may be
found.

5. Defendant the City of Dallas, Te><as is an incorporated municipality of the
State of Texas and may be served With by serving its County ]udge, ]im Foster, Dallas
County Administration Building, 411 Elm, 2nd Floor, Dallas, Te><as 75202.

IURISDICTION AND VENUE

6. The Court has original jurisdiction over this action pursuant to 28 U.S.C.
§1331 and §1343 since Plaintiffs are suing for relief under 42 U.S.C. § 1983. Any state law
claims are brought pursuant to 28 U.S.C. §1367 and are subject to this court’s supplemental

jurisdiction Venue is proper in the Northern District of Texas pursuant to 28 U.S.C. §1391

Plaintiffs’ Original Complaint -- Page 2

 

ease 3:03-<:\/-0115‘ Documem 1 Filed 07/08/08 .e 3 of 10 PagelD 3

because Defendants are domiciled and / or reside in the Northern District of Texas, and all
or a substantial part of the cause of action accrued in the Northern District.
FACTS AND ALLEGATIONS

7. For some time now, police officers employed by the City of Dallas have been
engaged in a repeated and systematic practice of issuing false, fake, fabricated or otherwise
irregular tickets and citations to various members of the public as more particularly
described below. Among other reasons, it appears that the reason at least in part, for this
practice, is because the department is one that is driven by numbers and quotas and many
officers and departments receive recognition, merit based pay increases and job
promotions, and other favorable treatment from the department as an award for high
volume tickets, arrests and convictions This policy and procedure creates an environment
that not only results in repeated civil rights violations, it actually encourages the practices
complained of herein.

8. In many instances, the victims of these violations are poor, homeless, un-
educated, not well conversant in English and are unable to speak up for themselves or
defend themselves They are unable to afford, or to obtain legal representation, in response
to these false, fake, fabricated, manufactured and frivolous citations and arrests. In short,
the police department and this practice appear to target the most vulnerable members of

the public.

Plaintiffs’ Oriszinal Complaint -- Page 3

 

ease 3:03-0\/-0115‘ Documem 1 Filed 07/08/08 .e 4 of 10 PagelD 4

9. These practices are condoned, encouraged, blessed or otherwise permitted
by the higher ups in the department and have continued unabated until only recently when
the practices were finally brought to light by the media.

10. Among other illegal acts, the officers named herein, as well as others who
remain to be identified in discovery, engaged in the conduct described more particularly
below.

11. As a result of these actions, the Plaintiffs herein had to serve un-warranted
jail time, suffer unnecessary and unwarranted abuse at the hands of these officers and
otherwise had to be subjected to the fines, penalties and disgrace of the judicial system and
incarceration - all for conduct for which they were wrongfully accused, charged and
convicted - and all in violation of their civil rights.

12. Beginning in 2003, Mr. Hawkins was the target of systematic police
interrogations, stops, arrests and tickets. On a weekly basis, Corporals Stecker, Nelson and
Scholoen would harass Mr. Hawkins while on their beat which was the east of Central
Expressway near Fitzhugh & Bennett streets. The officers would routinely force Hawkins
to sign a blank citation for an offense he either did not commit or for which he was
unaware he was being charged.

13. Many times these officers would arrest Hawkins for the offense of
”obstruction of a passageway”. Hawkins was subsequently jailed and forced to either

plead guilty or remain in jail pending a trial. Upon information and belief, these arrests

Plaintiffs’ Original Complaint - Page 4

 

ease 3:03-0\/-0115‘ Documem 1 Filed 07/08/08 .e 5 of 10 Pagelo 5

were made without probable cause and were designed to harass, annoy and otherwise
deprive Plaintiff Hawkins of his civil rights to be free from unlawful and illegal arrests,

14. In the years that followed and up through today, the remaining Plaintiffs
were victimized by Corporals Stecker, Nelson and Scholoen in much the same manner.
Plaintiffs RB Barton, Sabrina Chambers, ]oanna Chambers, Tracy Gemait and Michael
Cokefield all have suffered wrongful arrests, been forced to sign blank citations and have
been wrongfully convicted and incarcerated In fact, on December 21, 2006, Mr. Cokefield
received two citations for the same offense, one from Corporal Nelson and the other from
Corporal Scholoen.

15. ln addition, on a routine basis, the female Plaintiffs herein were repeatedly
subjected to lewd and oppressive conduct and were called explicit names, accused of being
prostitutes - typically, while being hauled off to jail.

16. Further, many of the tickets that the officers wrote the Plaintiffs were never
turned into the City of Dallas Detention Services and are unaccounted for, even though the
Plaintiffs were jailed on, and served time for the alleged offenses.

17. The systematic pattern of abuse towards the Plaintiffs, while it continues in
some instances, has slowed - coincidentally since the Corporals Scholeon and Nelson were
finally removed from their positions in March 2008.

CAUSE OF ACTION
Claims under 42 U.S.C. § 1983
18. Plaintiffs re-allege and restate all of paragraphs 1 through 17 of this

Complaint and incorporate each of said paragraphs herein by reference

Plaintiffs' Original Complaint -- Page 5

ease 3:03-0\/-0115. Documem 1 Filed 07/08/08 l.e 6 of 10 Pagelo 6

19. The Defendants had actual notice of the injuries suffered by Plaintiffs. Any
conditions precedent have occurred, been performed, or have been waived.

20. Acting under the color of law, the Defendants have deprived Plaintiffs of the
rights and privileges secured to Plaintiffs by the Fourth and Fourteenth Amendments to
the United States Constitution and by other laws of the United States. They have falsely
and intentionally cited and arrested Plaintiffs for violations of law, falsely incarcerated
Plaintiffs and they have, harassed, abused, and otherwise violated basic civil rights
afforded all citizens in the United States. The Defendants have maliciously prosecuted
Plaintiffs under State Law and caused substantial harm to Plaintiffs as described above, By
their actions and or inactions as described above, Defendants have violated 42 U.S.C. § 1983
and the constitutional provisions cited therein.

21. As a direct and proximate result of the above-described actions of the
individual Defendants, Plaintiffs were deprived of their rights as guaranteed by the Fourth
and Fourteenth Amendments of the Constitution of the United States and 42 U.S.C. §1983.
These same acts of Defendants were a direct and proximate cause of the violations
sustained by Plaintiffs under state law.

22. At all times relevant hereto, Defendants Nelson, Stecker and Schoelen, as
police officers of the City of Dallas Police Departrnent, were acting under the direction,
control and supervision of the City of Dallas which acted through its agents and employees
and who were responsible for making the policy of the police department, its officers and
operations Defendants Nelson, Stecker and Schoelen were acting pursuant to either

official policy, the practice, custom, and / or operation of the City of Dallas and its police

Plaintiffs' Original Complaint -- Pa,qe 6

 

 

Case 3:08-0v-0115. Document 1 Filed 07/08/08 F.z 7 of 10 Page|D 7

department Indeed, it appears that the City of Dallas failed to immediately address and
respond to this improper conduct once it was disclosed in the media.

23. Acting under color of law, by and through the policy makers of the City and
pursuant to official policy or custom and practice, the City of Dallas, by its police
department, intentionally, knowingly, recklessly, or with deliberate indifference to the
rights of the inhabitants of the City of Dallas and to the Plaintiffs, failed to instruct,
supervise, control, and / or discipline, on a continuing basis, Defendants Nelson, Stecker
and Schoelen in the performance of their duties to refrain from:

a. Conspiring to violate the rights, privileges, and immunities
guaranteed to each Plaintiff by the Constitution and Laws of the

United States and the Laws of the State of Texas, and

b. Otherwise depriving citizens and individuals of their constitutional
and statutory rights, privileges, and immunities.

24. The City of Dallas had knowledge of, or had it diligently exercised its duties
to instruct, supervise, control, and discipline on a continuing basis, should have had
knowledge of the wrongs that were done, as heretofore alleged. The City of Dallas had the
power to prevent or aid in preventing the commission of said wrongs, could have done so,
and intentionally, knowingly, or with deliberate indifference to the rights of the inhabitants
of the city failed or refused to do so.

25. The City of Dallas, directly or indirectly, under color of law, approved or
ratified the unlawful, deliberate, malicious, reckless, and wanton conduct of Defendants

Nelson, Stecker and Schoelen heretofore described.

Plaintiffs’ OriQinal Complaint -- Page 7

 

Case 3:08-0V-01151. Document 1 Filed 07/08/08 P. 8 of 10 Page|D 8

26. Defendant, the City of Dallas, had actual notice of previous problems and
complaints concerning a long standing pattern of police misconduct yet failed to take
corrective action. Further, the City of Dallas, had actual notice of previous supervisory
concerns with Defendants Nelson, Stecker and Schoelen while they were working the
overnight shift in Old East Dallas.

27. As a result of Defendants' statutory and constitutional violations, Plaintiffs
have suffered serious and substantial injuries for which they request the award of the

following categories of damages in an amount of not less than $75,000 per Plaintiff:

1. Emotional distress, torment and mental anguish;
2. Damage to reputation,'

3. Loss of earnings,' and

4. Personal injuries.

28. Pursuant to 42 U.S.C. § 1983 and 1988, Plaintiffs seek to recover, and hereby

request the award of exemplary damages, reasonable attorney’s fees and costs of court.
|URY DEMAND
29. Plaintiffs demand a trial by jury.
PRAYER FOR RELIEF

FoR THE REAsoNs sTATED ABovE, Plaintiffs request that the Defendants Nelson,
Stecker and Schoelen and City of Dallas be summoned to appear and answer herein and
that upon final trial or hearing, a judgment be entered in favor of the Plaintiffs and against

the Defendants as follows:

Plaintiffs’ Original Complaint -- Page 8

 

case 3:03-@\/-01151. Documem 1 Filed 07/08/08 P. 9 of 10 Pagelo 9

1. Awarding Plaintiffs actual damages;

2. Awarding Plaintiffs punitive or exemplary damages;

3. Awarding Plaintiffs reasonable and necessary attorneys fees and costs
of court,'

4. Awarding Plaintiffs pre-judgment interest at the highest rate
permitted by law;

5. Awarding Plaintiffs post-judgment at the highest rate permitted by
law; and,

6. Awarding Plaintiffs all such other and further relief, at law or in
equity, to which they may be entitled.

Respectfully submitted,

MLCM

Robert L. Chaiken
State Bar No. 04057830
Attorney-in-Charge

 

CHAIKEN & CHAIKEN, P.C.
One Galleria Tower

13355 Noel Road, Suite 600
Dallas, Texas 75240

(214) 265-0250 telephone

(214) 265-1537 facsimile

ScoTT H. PALMER, P.C.
3232 Mcl<inney Avenue
Suite 820, LB 36

Dallas, Texas 75204

(214) 987-4100 (telephone)
(214) 922-9900 (telecopier)

ATTORNEYS FOR PLAINTIFFS

Plaintiffs’ Original Complaint - Page 9

 

w 44 (Rev 1i,/M§ase 3: 08- -0\/- -01151- .-|I)oép:`nfntéo§,i§§%¥f§@§ Pa.lO of 10 Page|D 1101

1§1.._
The JS 44 civil cover sheet and the information contained herein neither re lace nor su plement the filing and service of pleadlngs or other apers as re uired by law, except as provided
by local rules of court. This form, approved by the Judicial Conference o the United §tates m September 1974, is requ1red fort e use of e Clerk of ourt for the purpose of 1n1t1at1ng
the Cile docket Sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM. )

 

 

 

   
      
 
  
 
  
    

I. (a) PLAINTIFFS DEFENDANTS
R. B. Bal”fOn et a|. Jeffrey Nelson, Timothy Stecker, Albert Schoelen, The City of
Dallas
(b) County of Residence of First Listed Plaintiff Dallas County of Residence of First Listed Defendant Dallas
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NO'I`E: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.
(C) Attomey’$ (Firm Name, Address, and Telephone Number) 81'11;(1“\9"'8
Robert L. Chaiken, Chaiken & Chaiken, P.C., One Gal|eria Tower, C V 1 1 5 l "‘ B
13355 NOel ROad, Ste. 600, Dallas, TX 75240, (214)265-0250
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X" in One Box for Plaintiff
(F or Diversity Cases Only) and One Box for Defendant)
13 1 U.s. Govemmem m 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Govemment Not a P C1 'zen of This State g l g l Incorporated or Principal Place ij 4 Cl 4

of Business In This State

|j 2 U.S. Govemment |:l 4 Dive `ty Citin ofAnother State D 2 ij 2 Incorporated and Principa.l Place l:l 5 13 5
Defendant of Business In Another State

Citize or Subjectofa Cl 3 Cl 3 ForeignNation |:l 6 D 6

`J,-\\ \P\l$orei_~_

 

   

 

             

  

 
   

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Cl 110 Insurance PERSONAL INJ \ \,\ " `» . "AL INJURY |j 610 Agziculture Cl 422 Appeal 28 USC 158 |‘_'l 400 State Reapportionment
Cl 120 Marine ij 310 Airplane 362 Personal Injury - |:I 620 Other Food & Drug Cl 423 Withdrawal |J 410 Antitrust
Cl 130 Miller Act ij 315 Airplane Product Med. Malpractice Cl 625 Drug Related Seizure 28 USC 157 IJ 430 Banks and Banking
U 140 Negotiable Instrument Liability Cl 365 Personal Injury - of Property 21 USC 881 I:l 450 Commerce
g 150 Recovery of Overpayment Cl 320 Assault, Libel & Product Liability Cl 630 Liquor Laws ' D 460 Deportation
&Enforcement of]udgrnent Slander CI 368 Asbestos Personal D 640 R.R. & Truck ij 820 Copyrights D 470 Racketeer lniluenoed and
\j 151 Medicare Act [J 330 Federal Employers’ Injury Product |:l 650 Airline Regs. ij 830 Patent Comlpt Organizations
ij 152 Recovery of Defaulted Liability Liability |:I 660 Occupational CI 840 Trademark 13 480 Consumer Credit
Student Loans Cl 340 Maxine PERSONAL PROPERTY Safety/Heal'h [J 490 Cable/Sat TV
(Excl. Veterans) El 345 Marine Product Cl 370 Other Fraud IJ 690 Other IJ 810 Selective Service
ij 153 Recovery of Ovexpayment Liability CI 371 Truth in Lending 1 ;' __ _ ` D 850 Securities/Commodities/
of Veteran’s Benefits EI 350 Motor Vehicle CI 380 Other Persona] |J 710 Fair Labor Standards Cl 861 HIA (13955`) Exchange
Cl 160 Stockholders’ Suits l:l 355 Motor Vehicle Property Damage Act CI 862 Black Lung (923) I:l 875 Customer Challenge
Cl 190 Other Contract Product Liability CI 385 Property Damage |J 720 Labor/Mgmt. Relations CI 863 DIWC/DIWW (405(g)) 12 USC 3410
ij 195 Contract Product Liability I:l 360 Other Personal Product Liability |:l 730 Labor/Mgmt.Repor¢jng CI 864 SSID Title XVI |:I 890 Other Statutory Actions
D 196 Franchise In & Disclosure Act Cl 865 RSI 4 IJ 891 Agricultural Acts
z'; . - ` `1 : l ['] 740 Railway Labor Act ' _ 4 . |:l 892 Economic Stabilization Act
ij 210 Land Condemnation |j 441 Voting ij 510 Motions 0 Vacate 0 790 Other Labor Litigation l:l 70 Taxes (U.S. Plaintiff |J 893 Environmental Matters
C] 220 Foreclosure Cl 442 Employment Sentence Cl 791 Emp]. Ret. Inc. or Defendant) IJ 894 Energy Allocation Act
|:l 230 Rent Lease & Ejectment D 443 Housing/ Habeas Corpus: Security Act D 871 IRS_Third quty I:l 895 Freedom of lnforrnation
[J 240 Torts to Land Accommodations Cl 530 General 26 USC 7609 Act
ij 245 Tort Product Liability IJ 444 Welf`are D 535 Deat.h Penalty ’ " ` ' g 900Appeal of Fee Determination
D 290 All Other Real Properry |j 445 Amer. w/Disabilities - D 540 Mandamus & Other Cl 462 Naturalization Application Under Equal Access
Employment ij 550 Civil Rights ij 463 Habeas Corpus - to Justice
I:l 446 Amer. W/Disabilities - l:l 555 Prison Condition Alien Detainee Cl 950 Constitutiona]ity of
Other ij 465 Other Immigration State Statutes
s 440 Other Civil Rights Actions
V. ORIGIN (Place an “X” in One Box Only) f d fr Peal to Dismct
§ 1 Original |:I 2 Removed from [:l 3 Remanded from [:'I 4 Reinstated or \:l 5 Trans eng . °m g 6 Multidistrict \:l 7 Aupge from
1 another dlstnct Magistrate
Proceedlng State Court Appellate Court Reopened (S_pecifv) Litigation Jud mem
Ce Civ_il ue under which ou are filin Do not cite urisdictional statutes unless diversi
liztiilsscc gist-1133 y g( 1 ‘y)
VI. CAUSE OF ACTION
Brief description of cause:
Civil rights violation
VII. REQUESTED IN El cHEcK 1F rHls rs A cLAss AcTIoN DEMAND $ CHECK YES duly if demanded in COmPldir\fr
COMPLAINT: UNDERF,R,c.P. 23 JURY DEMAND: d Yes CI No
VIII. RELATED CASE(S) S 4 y
tru 11 1
IF ANY ( °° ms ° °”S) JUDGE DocKET NUMBER
DATE GNA'I`URE F TT § CORD
’+ / 3/0 s
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

 

